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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

RAFAEL X. ZAHRALDDIN                          :
and SHELLEY A. KINSELLA,                      :
                                              :      C.A. No. 22-cv-00412-CFC
                          Plaintiffs,         :
                                              :
      v.                                      :
                                              :
ELLIOTT GREENLEAF, P.C.,
                                              :
                          Defendant.          :

               DECLARATION OF RAFAEL X. ZAHRALDDIN

      COMES NOW, Rafael X. Zahralddin, (“Affiant,” or “Plaintiff”) of lawful

age, being first duly sworn on Affiant’s oath, states as follows:

      1.      Affiant has personal knowledge of the matters set forth herein and

knowledge of the complaint filed in the above captioned matter (“Complaint”),

having reviewed, authorized, and instructed counsel to file the Complaint.

      2.      Elliott Greenleaf, P.C. (“Defendant”) has brought a lawsuit styled

Elliott Greenleaf, P.C. v. Rafael X. Zahralddin-Aravena, et al, in Montgomery

County, Pennsylvania, Civil Action No. 2021-01427 (“Pennsylvania State Court

Litigation”) on February 5, 2021. The lawsuit alleges duty of loyalty violations,

aiding and abetting fiduciary duty violations, conversion of property, and an

accounting.
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         3.        At all times relevant to the Complaint the Plaintiffs served as either

officers, directors, shareholders, or agents of the Defendant and were entitled

(among other things) to statutorily mandated information in order to execute their

duties including but not limited to copies of corporate governance documents,

including Defendant’s bylaws (“Bylaws”), and financial information pursuant to the

Pennsylvania Business Corporation Law. See, e.g., 15 Pa.C.S. §§1512 et seq. and

1712.

         4.        Defendant refused to provide this information to Plaintiffs for over a

decade. Defendant refused to provide it in the Pennsylvania State Court Litigation

until ordered to by the Court as discovery relevant to jurisdictional issues in question

during the preliminary objections stage of the Pennsylvania State Court Litigation.

         5.        Upon review of the Bylaws, Plaintiffs consulted and interviewed

counsel to assist them regarding their rights under the Bylaws.                Plaintiffs

subsequently sent a request to Defendant on January 11, 2021, to preserve their

rights of mandatory advancement and provide the “undertakings” required by the

Bylaws. See Exhibit “A” to the Plaintiffs’ Motion to Remand Action to Delaware

Chancery Court and for Fees Under 28 U.S.C. § 1447 (the “Remand Motion”). The

January 11, 2022 correspondence indicated that evidence of the outstanding amounts

due would be sent under separate cover once received in summary and in redacted




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form from Plaintiffs’ counsel, and that payment was expected from Defendant after

receipt and review.

         6.        On March 25, 2022, counsel for the Plaintiffs forwarded a demand for

advancement for the unpaid fees incurred in the Pennsylvania State Court Litigation,

which at that time was a total of $48,722.50 (the “Demand Amount”). See Exhibit

“B” to the Remand Motion. On March 28, 2022, Defendant refused payment of the

Demand Amount and refused to acknowledge the advancement rights of the

Plaintiffs. See Exhibit “C” to the Remand Motion.

         7.        Plaintiffs filed a complaint (“Complaint”) in the Delaware Court of

Chancery on March 29, 2022, for advancement of legal fees, costs, and expenses

(“Advancement Action”) pursuant to Article VII, Sections 1 and 2 of the

Defendant’s Bylaws, amended as of November 27, 2018.

         8.        As of the filing of the Complaint, the amount of $48,722.50 was the

Demand Amount being sought by the Plaintiffs.

         9.        Defendant removed the Advancement Action on March 30, 2022, to

this Court.

                                                  Further Affiants saith not.




                                                  _____________________
                                                  Rafael X. Zahralddin

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